 1                         UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF CONNECTICUT
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                                    )
 3
     DANIEL GARRISON,               )
 4
                                    )
               Plaintiff            )
 5                                  ) Case No.: 3:12-cv-00140 SRU
     v                              )
 6                                  )
     PORTFOLIO RECOVERY ASSOCIATES, )
 7   LLC,                           )
                                    )
 8             Defendant
 9

10
                  STIPULATION FOR DISMISSAL TO VOLUNTARILY DISMISS
                    THIS ACTION WITH PREJUDICE AGAINST DEFENDANT
11
            Now comes the Plaintiff, Daniel Garrison, by his attorney, Angela K.
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     Troccoli, Esquire, hereby stipulates and agrees that the action filed against the Defendant,
13
     Portfolio Recovery Assoc., LLC, be Dismissed, with prejudice, each party to bear
14
     their own attorneys fees and with all rights of appeal waived.
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                                                          DANIEL GARRISON,
17
                                                          By his Attorney,
18
                                                          /s/ Angela K. Troccoli
19                                                        Angela K. Troccoli, Esquire, Id# ct28597
                                                          Kimmel & Silverman, PC
20
                                                          The New England Office
21                                                        136 Main St., Suite 301
                                                          Danielson, CT 06239
22                                                        (860) 866-4380- direct dial
                                                          (860) 263-0919- facsimile
23                                                        atroccoli@creditlaw.com

24   Dated: April 30, 2012
25



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 1
                                       CERTIFICATE OF SERVICE
 2
            I, Angela K. Troccoli, Esquire, hereby certify that I have this 30th day of April 2012
 3

 4
     a copy of the foregoing was filed electronically and served by email on anyone unable to accept

 5   electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the

 6   Court’s electronic filing system or by email to anyone unable to accept electronic filing as

 7   indicated on the Notice of Electronic Filing. Parties may access this filing through the

 8   Court’s CM/ECF System.
 9

10
     PORTFOLIO RECOVERY ASSOC., LLC,
11   Sharina T. Romano
     140 Corporate Blvd
12   Norfolk, VA 23502
     (757) 519-9300
13   stromano@portfoliorecovery.com

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17                                          /s/ Angela K. Troccoli
                                            Angela K. Troccoli, Esquire, Id# ct28597
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